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February 11, 2020

VIA ELECTRONIC FILING

Hon. James L. Garrity, Jr.

United States Bankruptcy Court
Southern District of New York

One Bowling Green

New York, New York 10004

Re: — El San Juan City Island on 5" Ave LLC
Case No. 20-10103-jlg

Dear Judge Garrity:

Davin IJ. PAUL
HALEH AHDOUT
MARIANNE NUNZIATA
JANET GOLDSTEIN
BARBARA J. FRANKFURT
GEORGIA PAPAZIS
Vyay M. KITSON
DAVID TRoupp
ERICA Kass

Grecory S. Liss
MITCHELL E.. COHEN
HEATH TYGAR

Please be advised that my firm represents La Casa Quinta L.P., owner of real property
located at 1429 Fifth Avenue, New York, New York 10035 (the “Property”). Debtor, El San Juan

City Island on 5 Ave LLC (“Debtor”) occupies the commercial space at the Property.

This letter is submitted in support of an application pursuant to 11 USC 362(c)(4)(a)(ii), et
seq., which states: “on the request of a party in interest, the court shall promptly enter an order
confirming that no stay is in effect.”

The history of this Debtor is more fully set forth in the accompany declaration.
Nonetheless, the instant bankruptcy filing is the third in a twelve month period, the first two were
dismissed (19-10904-mg and 19-13 192-jlg).

Therefore, it is most respectfully requested that this Court issue the Proposed Order.

Enc.

 

ce. Norma E. Ortiz, Esq., attorney for Debtor
El San Juan City Island on 5" Ave LLC
United States Trustee
